(Rev. 12/96)

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except as provided by focal rules of court.

This forin approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON

THE REVERSE OF THE FORM.)

I (a) PLAINTIFFS
SMG
Independence Center, 701 Market Street, 4" Floor

Philadelphia, PA 19107
(b) COUNTY RESIDENCE OF FIRST LISTED PLAINTIFF N/A
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

Ungerboeck Systems International, Inc.

87 Hubble

O’Fallon, Missouri 63368

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
TRACT OF LAND INVOLVED

 

(€) ATTORNEYs (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Sandra A. Girifalco, Esquire (215) 564-8064
Stradley, Ronon, Stevens & Young, LLP

2600 One Commerce Square

Philadelphia, PA 19103-7098

ATTORNEYS (IF KNOWN)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Plaintiff (U.S. Government Not a Party)
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of Business in This State
O 2° US. Government & 4 Diversity Citizen of Another State O2 &2 Incorporated or Principal Place OSs 5
Defendant (Indicate Citizenship of of Business in Another State
Parties in [tem TH)
Citizen or Subject of a 0303 Foreign Nation 0606
Foreign Country
IV. CAUSE OF ACTION (CITE THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY) «
V. NATURE OF SUIT (ecace an x IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY| __ BANKRUPTCY ___]___ OTHER STATUTES
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G 153s Recovery of Overpayment Qo 350) Motor Vebtcle Q 380) Other Personal Oo W100 Fair Labor Standards oO 863 DIWCMDIWW (405(g)) [QO 875 Customer Challenge
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D160 Stockholders’ Suits Product Liability Q 385 Property Damage G20 Labor/Mgent. O 865 __RSI(405(g)) C891 Agricultural Acts
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G 19S Contract Product Liability Injury O 730 Labor/Mgmt. CG 870 Taxes (U.S. Plant Act
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QO 210 Land Condemnation a 441° ‘Voting Qo S10 = Motions to Vacate Disclosure Act o 871 IRS — Third Party a 894 Energy Allocation Act
OO 220 Foreclosure a 442 Employment Sentence 740 Railway Labor 26 USC 7609 a 895 Freedom of
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G 290 All Other Real Property GO 40 Other Civil Rights QO 540 Mandemos & Other O 791 Empl. Ret. tnc. Justice
QO 580 Other Security Act O =: 950 Constitationality of
State Statutes
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Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
VI. REQUESTED IN creck rTaisisaCLASS ACTION ~—- Equitable relief and Check VES anly If demanded in complatet:
DEMAND to exceed $150,000
COMPLAINT: 0 UNDER FRCP. 23 [JURY DEMAND: Eaves Ono
VIL. RELATED CASE(S) (see instractions):
IF ANY N/A JUDGE, DOCKET NUMBER
October 23, 2006 SG1358
DATE SIGNATURE OF ATTORNEY OF RECORD

 

UNITED STATES DISTRICT COURT

Sandra A. Girifalco
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 2 of 12
IN UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CASE MANAGEMENT TRACK DESIGNATION FORM

 

SMG,

Plaintiff, :
VS. : CIVIL ACTION NO.

UNGERBOECK SYSTEMS
INTERNATIONAL, INC.,

Defendant. JURY TRIAL DEMANDED ON ISSUES

TRIABLE BY JURY

 

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time
of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on
the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk of
court and serve on the plaintiff and all other parties, a case management track designation form
specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241
through §2255. ( )

(b) Social Security — Cases requesting review of a decision
of the Secretary of Health and Human Services denying
plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for
arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury
or property damage from exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks
(a) through (d) that are commonly referred to as complex
and that need special or intense management by the
court. (See reverse side of this form for a detailed

 

 

explanation of special management cases.) ( )
(f) Standard Management — Cases that do not fall into any
one of the other tracks. (X)
October 23, 2006 SG1358 Plaintiff
Date Sandra A. Girifalco, Attorney-at-Law Attorney for
215-564-8064 215-564-8120 sgirifalco@stradley.com
Telephone FAX Number E-MailAddress

(Civ. 660) 7/95
L #513057 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 3 of 12

Civil Justice Expense and Delay Reduction Plan
Section 1:03 - Assignment to a Management Track

(a) The clerk of court will assign cases to tracks (a) through (d) based on the
initial pleading.

(b) In all cases not appropriate for assignment by the clerk of court to tracks
(a) through (d), the plaintiff shall submit to the clerk of court and serve with the complaint on all
defendants a case management track designation form specifying that the plaintiff believes the
case requires Standard Management or Special Management. In the event that a defendant does
not agree with the plaintiff regarding said designation, that defendant shall, with its first
appearance, submit to the clerk of court and serve on the plaintiff and all other parties, a case

management track designation form specifying the track to which that defendant believes the
case should be assigned.

(c) The court may, on its own initiative or upon the request of any party,
change the track assignment of any case at any time.

(d) Nothing in this Plan is intended to abrogate or limit a judicial officer’s
authority in any case pending before that judicial officer, to direct pretrial and trial proceedings
that are more stringent than those of the Plan and that are designed to accomplish cost and delay
reduction.

(e) Nothing in this Plan in intended to supersede Local Civil Rules 40.1 and
72.1, or the procedure for random assignment of Habeas Corpus and Social Security cases
referred to magistrate judges of the court.

SPECIAL MANAGEMENT CASE ASSIGNMENTS
(See §1.02 (e) Management Track Definitions of the
Civil Justice Expense and Delay Reduction Plan)

Special Management cases will usually include that class of cases commonly
referred to as “complex litigation” as that term has been used in the Manuals for Complex
Litigation. The first manual was prepared in 1969 and the Manual for Complex Litigation
Second, MCL 2d was prepared in 1985. This term is intended to include cases that present
unusual problems and require extraordinary treatment. See §0.1 of the first manual. Cases may
require special or intense management by the court due to one or more of the following factors:
(1) large number of parties; (2) large number of claims or defenses; (3) complex factual issues;
(4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive
discovery; (7) exceptionally long time needed to prepare for disposition; (8) decision needed
within an exceptionally short time; and (9) need to decide preliminary issues before final
disposition. It may include two or more related cases. Complex litigation typically includes such
cases as antitrust cases; cases involving a large number of parties or an unincorporated
association of large membership; cases involving requests for injunctive relief affecting the
operation of large business entities; patent cases; copyright and trademark cases; common
disaster cases such as those arising from aircraft crashes or marine disasters; actions brought by
individual stockholders; stockholder’s derivative and stockholder’s representative actions; class
actions or potential class actions; and other civil (and criminal) cases involving unusual
multiplicity or complexity of factual issues. See §0.22 of the first Manual for Complex Litigation
and Manual for Complex Litigation Second, Chapter 33.

(Civ. 660) 7/95
L# 513057 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 4 of 12

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4 IN THE UNITED STATES DISTRICT COURT
be FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SMG, )
)
Plaintiff, )
) Civil Action
v. )
) Case No. 06 -4 4 3 “
Ungerboeck Systems International, Inc., )
) Jury Trial Demanded on Issues
Defendant. ) Triable by Jury
COMPLAINT

NOW COMES plaintiff SMG (“SMG” or “Plaintiff’), by and through its
attorneys, and alleges for its complaint against defendant Ungerboeck Systems International, Inc.
(“USTI’ or “Defendant”) as follows:

Nature of the Action

1. This is an action for breach of contract and tortious interference with
prospective economic advantage arising out of Defendant’s ongoing breach of a written software
license agreement by and between SMG and USI. SMG seeks damages, injunctive relief,
attorneys’ fees and such other relief as the Court deems appropriate.

Parties

2. Plaintiff SMG is a Pennsylvania Joint Venture in general partnership form

with its principal place of business in the Commonwealth of Pennsylvania.

3. Defendant USI is a Missouri corporation with its principal place of

business in the State of Missouri.

#513017 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 5 of 12

Jurisdiction and Venue

4. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 in that the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
between citizens of different states.

5. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 (a)(2)
because a substantial part of the events giving rise to SMG’s claims occurred in this judicial
district.

Facts

6. Plaintiff SMG provides sophisticated management services at stadiums,
arenas, convention centers, and theatres worldwide, including booking, marketing and sales,
construction and operations services for these sports, convention and entertainment venues.

7. Defendant USI licenses specialized business management software
products for the events management industry.

THE SMG/USILAGREEMENT

8. On or about August 27, 2002, SMG and USI executed and entered into a
written Software Licensing Agreement (the “Agreement”) pursuant to which USI agreed to
license the use of certain Event Business Management Software (“EBMS”) products to SMG. A
true and correct copy of the Agreement is attached hereto as Exhibit 1.

9. USI negotiated the Agreement with SMG via telephone calls, letters or
emails to personnel at SMG’s headquarters in Philadelphia, Pennsylvania.

10. The Agreement represented a substantial commitment by SMG to USI.
The Agreement also offered USI a significant opportunity to grow its business and to place its

specialized EBMS product line at a sophisticated multi-site client that is the events management

industry leader.

#513017 v. 1
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Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 6 of 12

11. After the Agreement was executed, SMG and USI devoted hundreds of
hours to complete a pilot project necessary to modify and/or enhance the EBMS products to meet
SMG’s specific business requirements. A substantial portion of the work on this pilot project
was completed at SMG’s headquarters in Philadelphia, Pennsylvania and at SMG’s participating
pilot locations. During this process, SMG invested significant time, monetary and human
resources and trust in USI.

12. SMG invested its time, money, personnel and trust in USI based upon
USI’s express agreement not to market, for a limited period of time, the EBMS software to three
of SMG’s primary competitors. This restriction, among other things, protected SMG from the
risk that USI would use the expertise and knowledge that USI developed from SMG to SMG’s
detriment in USI’s relationships with SMG’s primary competitors. Specifically, the parties
memorialized this understanding at paragraph 5 of Addendum A to the License Agreement (the
“Non-Compete Clause”):

5. Non-Compete Clause:

In order to protect CLIENT [SMG] and validate the CLIENT/USI
partnership, USI agrees not to market the Software [EBMS] to the
vendors listed below for a period of five years beginning July 1,
2002:

e Global Spectrum, Philadelphia, PA

e Compass Management, Ames, IA
e Promotion Management, Inc., Green Bay, WI

See Exhibit 1 at Addendum A, § 5.

13. SMG anticipated that its license to use the specialized EBMS products, in
conjunction with the Non-Compete Clause, would afford SMG a competitive edge in the
industry. The EBMS products constitute a specialized, comprehensive and integrated events

management software system for the convention centers which SMG manages. As such, SMG’s

#513017 v.l
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 7 of 12

ability to provide this product package to its customers represented a competitive advantage for
SMG. USI understood the significance and importance of the obligation memorialized in the

Non-Compete Clause.

AFTER SMG REFUSES TO RELIEVE USI OF ITS CONTRACTUAL OBLIGATION,
USI SECRETLY BREACHES THE OBLIGATION

14. On several occasions in 2005 and early 2006, during weekly telephone
calls to personnel at SMG’s headquarters to review the status of EBMS implementations, USI’s
President, Dieter Ungerboeck, requested that SMG relieve USI of its obligations under the Non-
Compete Clause.

15. SMG, however, refused to relieve USI of its obligations under the Non-
Compete Clause given the continuing importance of the protection afforded to SMG’s business
based on the provisions of that clause. Mr. Ungerboeck requested a meeting with SMG’s senior
officers to discuss this matter.

16. At a January 31, 2006 meeting at SMG’s headquarters, Mr. Ungerboeck
met with John Burns, SMG Senior Vice President and Chief Financial Officer, and Merritt
Wolfe, SMG Vice President of Information Systems. Mr. Ungerboeck made a personal plea for
SMG to waive the Non-Compete Clause of the Agreement, but would not disclose why he
wanted the waiver or to whom he intended to market his product.

17. Mr. Burns was unequivocally clear that SMG would not waive the Non-
Compete Clause of the Agreement and explained that SMG considered this provision to be
extremely important. Mr. Burns also explained that it was of particular concern to SMG that
Ungerboeck not market his product to Global Spectrum.

18. Mr. Ungerboeck acknowledged SMG’s response to his requests and

indicated that USI would continue to honor its obligations pursuant to the Non-Compete Clause.

#513017 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 8 of 12

19. Late in the summer of 2006, SMG learned that, notwithstanding USI’s
contractual obligation and its commitment to honor that obligation, USI has nevertheless
breached the Agreement. Through a Freedom of Information Act (“FOIA”) request to the City |
of Cincinnati, SMG obtained the proposal submitted by Global Spectrum in response to an RFP
for management of the Cinergy Center, a convention center owned by the City of Cincinnati.

The proposal revealed to SMG for the first time that USI had marketed the EBMS software to
Global Spectrum in violation of the Agreement.

20. Specifically, Global Spectrum’s bid touted its “utilization of Ungerboeck’s

Event Business Software (EBMS) system at all of its convention centers.” The Global Spectrum

bid further detailed its relationship with USI as follows:

Event Business Management Software

Global Spectrum’s convention centers utilize the latest
Ungerboeck’s Event Business Management Software (EBMS),
which allows us to create a seamless and well integrated
management system with our CVB, hotel and other partners.

The Cinergy Center currently uses an outdated EMS version. We
will install the new version that we use nationwide. This will
make it very easy for the GCCVB and hotels to communicate with
us regarding event bookings and scheduling activities. The
GCCVB will be added as a “remote” user. Minimal cost will be
involved because of Global Spectrum’s bulk purchase agreement

with Ungerboeck.
(Emphasis added).

21. Global Spectrum’s bid for the provision of management services to the
Cinergy Center was accepted. On or about May 1, 2006, the City of Cincinnati awarded Global
Spectrum the contract for those services.

22. SMG also submitted a bid for the management contract at the Cinergy

Center. SMG’s competing bid was unsuccessful. By breaching the Agreement with SMG and

5
#513017 v. 1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 9 of 12

developing a relationship with Global Spectrum, USI caused SMG to lose its competitive
advantage over Global Spectrum on this bid.

23. Global Spectrum is headquartered in Philadelphia, Pennsylvania. Upon
information and belief, USI has marketed its EBMS products to Global Spectrum at its
Philadelphia, Pennsylvania headquarters in breach of the Non-Compete Clause.

24. Upon information and belief, as a result of USI’s improper marketing
efforts, USI and Global Spectrum have reached certain agreements regarding the use of the
EBMS products at Global Spectrum venues, in violation of the Agreement.

25. After it became aware of USI’s marketing efforts in violation of the Non-
Compete Clause, SMG contacted USI to obtain more information about USI’s marketing efforts
regarding and relationship with Global Spectrum. While USI provided a conclusory denial that
it had breached the Agreement, USI nevertheless refused SMG’s request for further information
relating to (i) USI’s provision of services at venues managed by Global Spectrum, (ii) the nature
and dates of any understandings between USI and Global Spectrum; and (iii) the dates and
substance of communications between USI and Global Spectrum.

26. SMG has fully complied with all of its obligations pursuant to the

Agreement.
Count I
Breach of Contract
27. SMG realleges and incorporates herein by reference paragraphs | through
26.

28. SMG and USI entered into a valid and enforceable Agreement which
expressly prohibited USI from marketing its EBMS products to SMG’s competitor, Global

Spectrum, for a limited period of time.

#513017 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 10 of 12

29. UST has breached the Agreement by marketing the EBMS products to
Global Spectrum, and by entering into agreements with Global Spectrum regarding Global
Spectrum’s use of the EBMS products.

30. As adirect and proximate result of USI’s breach of the Agreement, SMG
has suffered, and will continue to suffer damages in an amount exceeding $75,000.

31. Asa further direct and proximate result of USI’s breach of the Agreement,
SMG has suffered, and will continue to suffer, damages to its reputation and unique status in the
market. Such damages constitute irreparable harm for which USI has no adequate remedy at
law. In order for SMG to derive the negotiated-for competitive advantage intended by the
language of the Non-Complete Clause, USI must be enjoined from its conduct in breach of the
Agreement for the remainder of the Agreement plus the period of time since USI has been in

breach of the Agreement.

Count U
Tortious Interference With Prospective Advantageous Economic Relations

32. SMG realleges and incorporates herein by reference paragraphs 1 through

31.

33. SMG had a reasonable expectation of entering into valid business
relationships (in the form of a management contracts) with convention centers and other venues
based upon the Agreement.

34. At all material times, USI was aware of SMG’s expectation that SMG
would hold a unique status and competitive advantage in the industry based on its primary

competitors’ inability to offer the EBMS products.

#513017 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 11 of 12

35. USI intentionally, tortiously and improperly interfered with SMG’s
reasonable business expectancies by marketing the EBMS products to Global Spectrum in
violation of the Agreement.

36. | USI’s intentional interference with SMG’s reasonable business
expectancies has and will result in SMG’s loss of profits and loss of business
opportunities/management contracts with convention centers and other venues, including but not
limited to the management contract at the Cinergy Center.

37. | USL had no justification for its intentional, tortious and improper
interference with SMG’s prospective economic advantage.

38. Asa direct and proximate result of USI’s intentional interference with
SMG’s business expectancies, SMG has suffered damages in an amount exceeding $75,000.

39. As a further direct and proximate result of USI’s intentional interference
with SMG’s business expectancies, SMG has suffered, and will continue to suffer, damages to its
reputation and unique status in the market. Such damages constitute irreparable harm for which
USI has no adequate remedy at law. In order for SMG to derive the negotiated-for competitive
advantage intended by the Agreement, USI must be enjoined from its tortious conduct in breach
of the Agreement.

Prayer For Relief

WHEREFORE, SMG respectfully requests that the Court enter a judgment in its
favor and against USI as follows:

A. Enjoining USI from its breach of the Agreement;

B. Extending the Non-Compete clause for an additional period of time

equivalent to the period of time USI has been in breach;

#513017 v.1
Case 2:06-cv-04737-BMS Document 1-1 Filed 10/23/06 Page 12 of 12

C. For an accounting of all revenues arising out of USI’s breach of the
Agreement;

D. For compensatory damages, in an amount to be determined at trial,
resulting from USI’s breach of contract and tortious interference with prospective economic
advantage;

E. For punitive damages in an amount sufficient to punish USI for its
intentional and tortious interference with SMG’s business expectancies, and to deter others from
such tortious interference with prospective economic advantage;

F. For attomeys’ fees, costs and expenses;

G. For prejudgment interest; and

H. For such other and further relief as the Court deems just and proper.

Dated: October 23, 2006. SG1358
Sandra A. Girifalco, I.D. No.
Stradley, Ronon, Stevens & Young, LLP

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Philadelphia, PA 19103

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#513017 v.i
